2:25-cv-00371-JD-MGB   Date Filed 01/21/25   Entry Number 1   Page 1 of 8




                                         2:25-cv-371-JD-MGB
2:25-cv-00371-JD-MGB   Date Filed 01/21/25   Entry Number 1   Page 2 of 8
2:25-cv-00371-JD-MGB   Date Filed 01/21/25   Entry Number 1   Page 3 of 8
2:25-cv-00371-JD-MGB   Date Filed 01/21/25   Entry Number 1   Page 4 of 8
2:25-cv-00371-JD-MGB   Date Filed 01/21/25   Entry Number 1   Page 5 of 8
2:25-cv-00371-JD-MGB   Date Filed 01/21/25   Entry Number 1   Page 6 of 8
2:25-cv-00371-JD-MGB   Date Filed 01/21/25   Entry Number 1   Page 7 of 8
2:25-cv-00371-JD-MGB   Date Filed 01/21/25   Entry Number 1   Page 8 of 8
